EXHIBIT A
AO 93 (Rev. 11/13) Search and Seizure Warrant




                                           UNITED STATES DISTRICT COURT
                                                                            for the
                                                                  District of New Jersey

                  In the Matter of the Search of                                )
              (Briefly describe the property to be searched                     )
               or identify the person by name and address)                      )      Case No.    24-12238
       A Forensic Image Of A Silver Apple Iphone Assigned                       )
       The Phone Number 845-641-0543, More Particularly                         )
                    Described In Attachment A                                   )

                                                  SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the   _ _ _ _ _ _ _ _ District of                         New Jersey
(identify the person or describe the property to be searched and give its location):

      See Attachment A




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
      See Attachment B




        YOU ARE COMMANDED to execute this warrant on or before                  August 20, 2024        (not to exceed 14 days)
      0 in the daytime 6:00 a.m. to 10:00 p.m. ~ at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                     Hon. James B. Clark Ill
                                                                                                     (United States Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for         days (not to exceed 30) 0 until, the facts justifying, the later specific date of

                                     8/7/2024 1330 hours                                    Isl James B. Clark III
Date and time issued:
                                                                                                             Judge's signature

City and state:              Newark, New Jersey                                                     Hon. James B. Clark 111, USMJ
                                                                                                           Printed name and title
                SENSITIVE                                                                                               DOJ 0000015
                               ATTACHMENT C

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

IN THE MATTER OF THE SEARCH OF A              TO BE FILED UNDER SEAL
FORENSIC IMAGE OF A SILVER APPLE
!PHONE ASSIGNED THE PHONE                     Hon. James B. Clark III, USMJ
NUMBER 845-641-0543, MORE
PARTICULARLY DESCRIBED IN                     Mag. No. 24-12238
ATTACHMENT A


      STATE OF NEW JERSEY
                                     : ss.
      COUNTY OF ESSEX

                       AFFIDAVIT IN SUPPORT OF
                AN APPLICATION FOR A SEARCH WARRANT

      I, Jaclyn Duchene, being first duly sworn, hereby depose and state as

follows:

       1.   I make this affidavit in support of an application under Rule 41 of

the Federal Rules of Criminal Procedure for a search warrant authorizing the

examination of a forensic image obtained from a cellular phone described

further herein and in Attachment A-which is currently in lawful the

possession of the Department of Homeland Security, Immigration and Customs

Enforcement, Homeland Security Investigations ("HSI") in the District of New

Jersey-and the forensic extraction from that property of electronically stored

information described in Attachment B.

      2.    I am a Special Agent with HSI, currently assigned to the HSI

Newark Child Exploitation investigative group. Therefore, I am a "federal law

enforcement officer" within the meaning of Federal Rule of Criminal Procedure



SENSITIVE                                                          DOJ 0000017
41 (a){2)(C)-that is, a government agent engaged in enforcing the criminal laws

and duly authorized by the Attorney General to request a search warrant.

      3.     I have been a Special Agent with HSI since December 2016.

Through my employment, I have received training in the area of child sexual

abuse material, as defined in 18 U.S.C. § 2256, and child exploitation, and

have, as part of my daily duties as a Special Agent, investigated violations

relating to child exploitation and child sexual abuse material, including

violations pertaining to the possession, distribution, receipt, advertising, and

production of child sexual abuse material, in violation of 18 U.S.C. §§ 2251,

2252(a), and 2252A. As part of my duties as a Special Agent, I have observed

and reviewed numerous examples of child sexual abuse material in all forms of

media, including computer media. I have also participated in the execution of

many search warrants, including searches involving child exploitation and/or

child sexual abuse material offenses.

      4.     The information contained in this affidavit is based upon my

personal knowledge and observation during the investigation of this matter, the

review of documents and records, my training and experience, and

conversations with other law enforcement officers (including officers who have

engaged in numerous investigations involving child sexual abuse material and

computer-based crime). This affidavit is intended to show only that there is

probable cause for the requested warrant and does not set forth all my

knowledge about this matter. Where the contents of documents or the actions,




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 SENSITIVE                                                             DOJ _ 0000018
statements or conversations of others are reported herein, they are reported in

substance and in part, except as otherwise indicated.

      5.     Based on the facts set forth in this affidavit, there is probable

cause to believe that violations of Title 18, United States Code, 2251 (sexual

exploitation of children), 2252 (activities relating to material involving the

sexual exploitation of children), and 2252A (activities relating to material

constituting or containing child sexual abuse material) (the "Subject Offenses")

have been committed by Jacob Israel Walden ("WALDEN"), and that evidence,

fruits, contraband and instrumentalities will be found on the electronic device

described further herein and in Attachment A. The items to searched for and

seized are specifically described in Attachment B to this affidavit which is

incorporated herein.

            IDENTIFICATION OF THE DEVICE TO BE EXAMINED

      6.     As described in Attachment A, the property to be searched is the

forensic image obtained from a silver Apple iPhone assigned the phone number

845-641-0543 (the "SUBJECT DEVICE"). The SUBJECT DEVICE is currently

in the lawful custody of HSI in the District of New Jersey. The proposed search

warrant would authorize the forensic examination of the SUBJECT DEVICE for

the purpose of identifying electronically stored data particularly described in

Attachment B.

                            STATUTORY AUTHORITY

      7.     As noted above, this investigation concerns alleged violations of the

following statutes:

                                          3


 SENSITIVE                                                              DOJ_0000019
            a.     18 U.S.C. §§ 2252(a)(l) and (b)(l), which prohibit any person

from knowingly transporting or shipping, or attempting or conspiring to

transport or ship, any visual depiction using any means or facility of interstate

or foreign commerce, or in or affecting interstate or foreign commerce, by any

means including by computer or mails, if the production of such visual

depiction involved the use of a minor engaging in sexually explicit conduct and

such visual depiction is of such conduct.

            b.     18 U.S.C. §§ 2252(a)(2) and (b)(l), which prohibit any person

from knowingly receiving or distributing, or attempting or conspiring to receive

or distribute, any visual depiction using any means or facility of interstate or

foreign commerce, or that has been mailed or shipped or transported in or

affecting interstate or foreign commerce, or which contains materials which

have been mailed or so shipped or transported, by any means including by

computer, or knowingly reproducing any visual depiction for distribution using

any means or facility of interstate or foreign commerce, or in or affecting

interstate or foreign commerce or through the mails, if the production of such

visual depiction involved the use of a minor engaging in sexually explicit

conduct and such visual depiction is of such conduct.

            c.     18 U.S.C. §§ 2252(a)(4)(B) and (b)(2), which prohibit any

person from knowingly possessing or accessing with the intent to view, or

attempting or conspiring to possess or access with the intent to view, one or

more books, magazines, periodicals, films, video tapes, or other matter which

contain any visual depiction that has been mailed, or has been shipped or

                                         4


SENSITIVE                                                             DOJ 0000020
transported using any means or facility of interstate or foreign commerce or in

or affecting interstate or foreign commerce, or which was produced using

materials which have been mailed or so shipped or transported, by any means

including by computer, if the production of such visual depiction involved the

use of a minor engaging in sexually explicit conduct and such visual depiction

is of such conduct.

             d.    18 U.S.C. §§ 2252A(a)(l) and (b)(l), which prohibit a person

from knowingly mailing, or transporting or shipping using any means or facility

of interstate or foreign commerce or in or affecting interstate or foreign

commerce by any means, including by computer, any child sexual abuse

material, as defined in 18 U.S.C. § 2256(8), or attempting or conspiring to do

so.

             e.    18 U.S.C. §§ 2252A(a)(2)(A) and (b)(l), which prohibit a

person from knowingly receiving or distributing, or attempting or conspiring to

receive or distribute, any child sexual abuse material or any material that

contains child sexual abuse material, as defined in 18 U.S.C. § 2256(8), that

has been mailed, or using any means or facility of interstate or foreign

commerce shipped or transported in or affecting interstate or foreign commerce

by any means, including by computer.

             f.    18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2), which prohibit a

person from knowingly possessing or knowingly accessing with intent to view,

or attempting or conspiring to do so, any material that contains an image of

child sexual abuse material, as defined in 18 U.S.C. § 2256(8), that has been

                                         5


 SENSITIVE                                                             DOJ 0000021
mailed, or shipped or transported using any means or facility of interstate or

foreign commerce or in or affecting interstate or foreign commerce by any

means, including by computer, or that was produced using materials that have

been mailed or shipped or transported in or affecting interstate or foreign

commerce by any means, including by computer.

                               PROBABLE CAUSE

I.    Prior Investigation of Child Sexual Abuse Material Scheme

      8.     Since at least in or about March 2022, law enforcement has been

investigating a large-scale child sexual abuse material production and

distribution scheme which advertised, sold and distributed child sexual abuse

material to adult male buyers located in various locations within the United

States and abroad from approximately August 2019 through in or around

September 2022. Law enforcement, utilizing various investigative measures,

has worked to identify the participants in the scheme including: (i) the

producers and distributors of the child sexual abuse material; (ii) the buyers

and recipients of the child sexual abuse material; and (iii) the minor victims

enticed to engage in sexual acts and produce images and videos of child sexual

abuse material for sale and distribution to buyers.

      9.     More specifically, law enforcement identified the leader of the

scheme, Ryan Edward Hine (who, as described below, has since been

criminally charged). The investigation showed that that, in furtherance of the

child sexual abuse material production and distribution scheme, Hine utilized

and controlled multiple text message and chat applications, electronic payment

                                        6


 SENSITIVE                                                            DOJ 0000022
applications, and email accounts with variations of usemames and monikers,

including but not limited to, "Lacie Love", "Rosie Snow", and "Kandie Kae"

when advertising, selling, and distributing child sexual abuse material images

and videos of the minor victims to subject buyers.

      10.    From approximately June 2020 through September 2022, in

connection with the Hine investigation, grand jury subpoena returns from Cash

App demonstrated that Hine used a Cash App account registered to email

"RosieSnow69@gmail.com" and identifiers "$rosiesnow69," "$laciexlove69," and

"$kandiexkae69" to receive payments from buyers for the production and

distribution of child sexual abuse material to the buyers.

      11.    In or around February 2023, Hine was arrested by law

enforcement for his leadership in the child sexual abuse material production

and distribution scheme. In voluntary post-arrest proffer statements to law

enforcement, Hine stated that the Cash App account associated with

"RosieSnow69@gmail.com" was created for the purpose of receiving payments

from buyers of child sexual abuse material that Hine would then distribute to

the buyers through a variety of text/ chat applications.

      12.    From in or around August 2022 through February 2024, law

enforcement identified at least six (6) minor victims whose child sexual abuse

material images and videos were advertised, sold, and distributed by Hine to

buyers who made payment to Hine from approximately October 2020 through

November 2021 for receipt of the Hine produced child sexual abuse material.




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 SENSITIVE                                                          DOJ 0000023
        13.   Hine was indicted in the Western District of Missouri in March

2023. See United States v. Hine, Case No. 23-cr-4012 (W.D. Mo.).     The grand

jury returned a superseding indictment in February 2024.

II.     WALDEN Identified as Purchaser of Child Sexual Abuse Material

        14.   In or around September 2023, law enforcement, reviewing the

Hine-controlled Cash App account registered to RosieSnow69@gmail.com,

identified Cash App accounts "Jake W" and "JW0543," which utilized payment

cards with numbers 376737811103004 and 4867428021500894, making

approximately thirteen (13) payments totaling $605 to the Hine-controlled Cash

App account from in or around October 2020 through in or around November

2021.

        15.   Law enforcement reviewed the subpoenaed records of the "Jake W"

Cash App account, which provided the following identifying information for that

account: the name (Jake Walden), the date of birth, the Social Security

Number, and an address in Woodmere, New York (945 Central Avenue).

Additionally, records provided by Cash App for the "Jake W" account identified

that the account was created in or around October 2020.

        16.   The "Jake W" Cash App account was utilized to effect payments to

the Hine-controlled "RosieSnow69@gmail.com" Cash App account in October

2020 and September 2021 utilizing payment methods that included J.P.

Morgan Chase credit card 4867428021500894 referenced above.

        17.   Through subsequent investigative steps, including a review of law

enforcement databases and open-source information, law enforcement officers

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 SENSITIVE                                                           DOJ 0000024
were able to link WALDEN to the above identifying personal information of the

"Jake W" Cash App account, and link the address of 945 Central Avenue in

Woodmere, New York to WALDEN's place of employment, Emerald Healthcare.

       18.    Because he had been identified as a possible purchaser/possessor

of child sexual exploitation material, an alert was created to enable law

enforcement officers to received notifications about WALDEN's travel plans.

III.   Manual Inspection Pursuant to Border Authority

       19.    On or about April 21, 2024, WALDEN was scheduled to depart

John F. Kennedy International Airport in Queens, New York aboard an

international flight that was scheduled to travel to Rome, Italy. Law

enforcement was alerted of WALDEN's travel arrangements and monitored

WALDEN upon his entering the airport.

       20.    After WALDEN was observed scanning his airline boarding pass

and entering the secure, outbound jetway for his international flight, law

enforcement stopped WALDEN and conducted a border inspection and search

of the property in WALDEN's possession for contraband (here, child sexual

abuse material) or evidence of such contraband.

       21 .   During the border inspection, law enforcement located the

SUBJECT DEVICE and conducted a preliminary manual search of the

SUBJECT DEVICE pursuant to border search authority, based upon suspicion

that WALDEN was purchasing child sexual abuse material from Hine. During

the inspection, WALDEN declared the SUBJECT DEVICE as his property and




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 SENSITIVE                                                           DOJ 0000025
provided his phone number. WALDEN also voluntarily gave law enforcement

officers the password to the SUBJECT DEVICE.

      22.    Upon conducting a manual search of the SUBJECT DEVICE, law

enforcement identified a Cash App account utilizing the display name "Jake W"

and identifier "$jakewny'' on the SUBJECT DEVICE. Law enforcement officers

photographed this Cash App application profile, which appears below:




                                      10


 SENSITIVE                                                        DOJ _ 0000026
      23.    Upon request of law enforcement, during the border search,

WALDEN presented a wallet from his pants pocket for further inspection by law

enforcement. Law enforcement photographed multiple bank cards discovered

within WALDEN's wallet, which photograph appears below.




                                       11


 SENSITIVE                                                         DOJ_0000027
      24.   Among the cards in WALDEN's possession was J.P. Morgan Chase

credit card with account number 4867428021500894, which, as described

above, law enforcement had previously identified in Cash App records as a

payment source for Cash App account "Jake W" held by WALDEN from

approximately 2020 through 2021, that made numerous payments to a Cash

App account associated with leader of the child sexual abuse material

production and distribution scheme, Ryan Edward Hine, known to law

enforcement as the "Kandie Kae" account with additional identifiers of

"RosieSnow69 - Rosie Snow" and "Laciexlove69 - Lacie Love."

      25.   In addition to Cash App, law enforcement officers observed

multiple multimedia file sharing applications on the SUBJECT DEVICE

including Dropbox and Telegram, which were utilized by Hine to advertise,

communicate and distribute child sexual abuse material to buyers who

submitted payment to the "RosieSnow69@gmail.com" Cash App account. Law

enforcement also observed an application that appears to be a calculator but is

designed to store hidden photos within the application.

      26.   During law enforcement's inspection and border search of

WALDEN and his merchandise, WALDEN asked law enforcement to provide

more information about the reason for the inspection and search during his

boarding of the international flight. Law enforcement identified to WALDEN

that the nature of the investigation concerned "child exploitation" and

WALDEN's past communication with individuals "Rosie Snow'' and "Lacie

Love." WALDEN responded that "Rosie" and "Lacie" were not "one person" but

                                       12


SENSITIVE                                                           DOJ_0000028
a "group that went by different names." In apparent reference to child sex-

abuse material, WALDEN stated that he went to "rehab" and that his wife was

aware of his "issues." WALDEN's wife, who was present during the border

inspection, separately stated to law enforcement officers that she was aware of

WALDEN's "issues" and that WALDEN had gone to "rehab years ago."

      27.   Based on multiple factors-including the discovery of WALDEN's

credit card that was linked to a payment account used to make payments to

Hine-controlled Cash App account, WALDEN's statements regarding the

identity of Hine-controlled Cash App accounts, WALDEN's and his wife's

statements regarding his "issues" in apparent reference to child sexual abuse

materials, and the surreptitious photo-storage application and payment

applications discovered by law enforcement during the manual search of the

SUBJECT DEVICE-law enforcement seized the SUBJECT DEVICE from

WALDEN following the inspection.

IV.   Forensic Search of the Device Pursuant to Border Authority

      28.   On or about April 21, 2024, the SUBJECT DEVICE was

transported to the Newark office of HSI at 620 Frelinghuysen Avenue, Newark,

NJ. On or about April 22, 2024, the SUBJECT DEVICE was transferred to the

HSI's Newark Computer Forensic Lab at the same address for forensic analysis

to be conducted pursuant to border search authority and HSI policy

interpreting its border search authority.

      29.   Based on my training and experience, I know that following the

border inspection on April 21, 2024, the SUBJECT DEVICE was stored such

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SENSITIVE                                                           DOJ _ 0000029
that its contents are-to the extent material to the above-described

investigation-in substantially the same state as they were when the SUBJECT

DEVICE first came into the possession of HSI.

      30.    By May 1, 2024, the HSI's Newark Computer Forensic Lab

successfully created a forensic extraction of the data on the SUBJECT

DEVICE. 1

      31.    On July 30, 2024, the evening before WALDEN was scheduled to

depart the country alone on an outbound flight to Mexico, the Honorable

Cheryl Pollak, United States Magistrate Judge for the Eastern District of New

York, signed a warrant authorizing the arrest of WALDEN upon a Complaint

charging WALDEN with possession of child sexual abuse material, in violation

of 18 U.S.C. § 2252(a)(4)(B). A copy of the Affidavit and Complaint in Support

of the Application for an Arrest Warrant is attached as Exhibit 1 to this

Affidavit. WALDEN was arrested on July 31, 2024.

      32.    Law enforcement now seeks a warrant for review of the forensic

image of the device. Although the SUBJECT DEVICE is lawfully in HSI's

possession and HSI believes it already has all of the necessary authority,

pursuant to its border search authority, to continue searching the SUBJECT



1 A review of the forensic extraction since May 1, 2024 confirmed the presence of

multiple conversations within the SUBJECT DEVICE involving the production,
distribution, receipt of images and videos of possible child sexual abuse material.
Additionally, law enforcement identified images and videos containing child sexual
abuse material on the SUBJECT DEVICE. This information is included only to apprise
the Court of the relevant conduct by law enforcement officers; I do not rely on this
evidence to establish probable cause to conduct the forensic search.

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SENSITIVE                                                                DOJ_ 0000030
DEVICE, in an abundance of caution {in particular in light of intervening

decisions in the Eastern District of New York, United States v. Sultanov, No.

22-CR-149 (NRM), 2024 WL 3520443 (E.D.N.Y. July 24, 2024) and United

States v. Fox, No. 23-CR-227 {NGG), 2024 WL 3520767 (E.D.N.Y. July 24,

2024)), and to ensure that a search of the SUBJECT DEVICE would comply

with the Fourth Amendment and other applicable law, I now submit this

affidavit seeking a warrant to search the SUBJECT DEVICE for contraband and

evidence related to child sexual exploitation. 2

      33.    Based on my training and experience, individuals involved in the

commission of the Subject Offenses frequently access child sexual abuse

material and save those images within applications on their cellular and mobile

devices.

      34.    Because the border inspection revealed that WALDEN was in

possession of a credit card that was linked to a payment account used to make

payments to Hine-controlled Cash App account; because WALDEN made

statements to law enforcement officers confirming his knowledge of the that

Hine-controlled Cash App accounts using different usernames were part of the

same "group"; because WALDEN and his wife each made statements regarding


2 For purposes of the Fourth Amendment, some courts have differentiated between a

"manual" review of files on an electronic device during a border search on the one
hand and border search-related forensic examination of the electronic device on the
other hand, as well as the quantum of suspicion necessary for such searches to be
reasonable under the Fourth Amendment. I am advised that neither the Supreme
Court, the Second Circuit, nor the Third Circuit has yet opined on the issue. For
efficiency and practicality, upon receipt of this warrant, law enforcement intends to
continue searching the existing forensic extraction rather than obtaining a new,
second, identical extraction from the physical phone seized at the border.
                                          15


 SENSITIVE                                                                DOJ _ 0000031
his "issues" in apparent reference to child sex abuse material; because law

enforcement officers conducting a manual review of SUBJECT DEVICE

observed multimedia file sharing applications utilized by Hine to advertise,

communicate and distribute child sexual abuse material to buyers, as well as

an application designed to store hidden photos-all coupled with the

information obtained in the investigation of Hine-there is probable cause to

believe that evidence, contraband, fruits, or instrumentalities of the Subject

Offenses are present on the SUBJECT DEVICE within certain mobile and

cellular device applications.

                                  DEFINITIONS

      35.    The following definitions apply to this affidavit and the

attachments to this affidavit:

             a.    Child sexual abuse material ("CSAM"), or child pornography,

is defined as "any visual depiction, including any photograph, film, video,

picture, or computer or computer-generated image or picture, whether made or

produced by electronic, mechanical, or other means, of sexually explicit

conduct, where-(A) the production of such visual depiction involves the use of

a minor engaging in sexually explicit conduct; (B) such visual depiction is a

digital image, computer image, or computer-generated image that is, or is

indistinguishable from, that of a minor engaging in sexually explicit conduct; or

(C) such visual depiction has been created, adapted, or modified to appear that

an identifiable minor is engaging in sexually explicit conduct." 18 U.S.C. §

2256(8).


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 SENSITIVE                                                               DOJ 0000032
             b.    "Sexually explicit conduct" means actual or simulated (a}

sexual intercourse, including genital-genital, oral-genital, or oral-anal, whether

between persons of the same or opposite sex; (b} bestiality; (c} masturbation; (d}

sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or

pubic area of any persons. See 18 U.S.C. § 2256(2).

      36.    Based on my training and experience, I use the following technical

terms to convey the following meanings:

             a.    Wireless telephone: A wireless telephone (or mobile

telephone, or cellular telephone} is a handheld wireless device used for voice

and data communication through radio signals. These telephones send signals

through networks of transmitter /receivers, enabling communication with other

wireless telephones or traditional "land line" telephones. A wireless telephone

usually contains a "call log," which records the telephone number, date, and

time of calls made to and from the phone. In addition to enabling voice

communications, wireless telephones offer a broad range of capabilities. These

capabilities include: storing names and phone numbers in electronic "address

books;" sending, receiving, and storing text messages and e-mail; taking,

sending, receiving, and storing still photographs and moving video; storing and

playing back audio files; storing dates, appointments, and other information on

personal calendars; and accessing and downloading information from the

Internet. Wireless telephones may also include global positioning system

("GPS") technology for determining the location of the device.




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 SENSITIVE                                                             DOJ _ 0000033
            b.     Digital camera: A digital camera is a camera that records

pictures as digital picture files, rather than by using photographic film. Digital

cameras use a variety of fixed and removable storage media to store their

recorded images. Images can usually be retrieved by connecting the camera to

a computer or by connecting the removable storage medium to a separate

reader. Removable storage media include various types of flash memory cards

or miniature hard drives. Most digital cameras also include a screen for

viewing the stored images. This storage media can contain any digital data,

including data unrelated to photographs or videos.

            c.     Portable media player: A portable media player (or "MP3

Player" or iPod) is a handheld digital storage device designed primarily to store

and play audio, video, or photographic files. However, a portable media player

can also store other digital data. Some portable media players can use

removable storage media. Removable storage media include various types of

flash memory cards or miniature hard drives. This removable storage media

can also store any digital data. Depending on the model, a portable media

player may have the ability to store very large amounts of electronic data and

may offer additional features such as a calendar, contact list, clock, or games.

            d.     GPS: A GPS navigation device uses the Global Positioning

System to display its current location. It often contains records the locations

where it has been. Some GPS navigation devices can give a user driving or

walking directions to another location. These devices can contain records of

the addresses or locations involved in such navigation. The Global Positioning

                                        18


SENSITIVE                                                             DOJ 0000034
System (generally abbreviated "GPS") consists of 24 NAVSTAR satellites

orbiting the Earth. Each satellite contains an extremely accurate clock. Each

satellite repeatedly transmits by radio a mathematical representation of the

current time, combined with a special sequence of numbers. These signals are

sent by radio, using specifications that are publicly available. A GPS antenna

on Earth can receive those signals. When a GPS antenna receives signals from

at least four satellites, a computer connected to that antenna can

mathematically calculate the antenna's latitude, longitude, and sometimes

altitude with a high level of precision.

             e.    PDA: A personal digital assistant, or PDA, is a handheld

electronic device used for storing data (such as names, addresses,

appointments or notes) and utilizing computer programs. Some PDAs also

function as wireless communication devices and are used to access the

Internet and send and receive e-mail. PDAs usually include a memory card or

other removable storage media for storing data and a keyboard and/ or touch

screen for entering data. Removable storage media include various types of

flash memory cards or miniature hard drives. This removable storage media

can store any digital data. Most PDAs run computer software, giving them

many of the same capabilities as personal computers. For example, PDA users

can work with word-processing documents, spreadsheets, and presentations.

PDAs may also include global positioning system ("GPS") technology for

determining the location of the device.




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 SENSITIVE                                                           DOJ _ 0000035
             f.   IP Address: An Internet Protocol address (or simply "IP

address") is a unique numeric address used by computers on the Internet. An

IP address is a series of four numbers, each in the range 0-255, separated by

periods (e.g., 121.56.97.178). Every computer attached to the Internet

computer must be assigned an IP address so that Internet traffic sent from and

directed to that computer may be directed properly from its source to its

destination. Most Internet service providers control a range of IP addresses.

Some computers have static-that is, long-term-IP addresses, while other

computers have dynamic-that is, frequently changed-IP addresses.

             g.   Internet: The Internet is a global network of computers and

other electronic devices that communicate with each other. Due to the

structure of the Internet, connections between devices on the Internet often

cross state and international borders, even when the devices communicating

with each other are in the same state.

             h.   Tablet: A tablet is a mobile computer, typically larger than a

phone yet smaller than a notebook, that is primarily operated by touching the

screen. Tablets function as wireless communication devices and can be used

to access the Internet through cellular networks, 802.11 "wi-fi" networks, or

otherwise. Tablets typically contain programs called apps, which, like

programs on a personal computer, perform different functions and save data

associated with those functions. Apps can, for example, permit accessing the

Web, sending and receiving e-mail, and participating in Internet social

networks.

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 SENSITIVE                                                          DOJ _ 0000036
      37.    Based on my training, experience and research, I know that the

Subject Device has the capability to serve as, among other things, a wireless

telephone, digital camera, portable media player, GPS navigation device, and

PDA, and to access the Internet. In my training and experience, examining

data stored on devices of this type can uncover, among other things, evidence

that reveals or suggests who possessed or used the device.

             ELECTRONIC STORAGE AND FORENSIC ANALYSIS

      38.    Based on my knowledge, training and experience, I know that

electronic devices can store information for long periods of time. Similarly,

things that have been viewed via the Internet are typically stored for some

period of time on the device. This information can sometimes be recovered

with forensics tools.

      39.    Forensic evidence. As further described in Attachment B, this

application seeks permission to locate not only electronically stored

information that might serve as direct evidence of the crimes described on the

warrant, but also forensic evidence that establishes how the Subject Device

was used, the purpose of its use, who used it, and when. There is probable

cause to believe that this forensic electronic evidence might be on the Subject

Device because:

             a.     Data on the storage medium can provide evidence of a file

that was once on the storage medium but has since been deleted or edited, or

of a deleted portion of a file (such as a paragraph that has been deleted from a

word processing file) .

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SENSITIVE                                                            DOJ_0000037
              b.   Forensic evidence on a device can also indicate who has

used or controlled the device. This "user attribution" evidence is analogous to

the search for "indicia of occupancy" while executing a search warrant at a

residence .

              c.   A person with appropriate familiarity with how an electronic

device works may, after examining this forensic evidence in its proper context,

be able to draw conclusions about how electronic devices were used, the

purpose of their use, who used them, and when.

              d.   The process of identifying the exact electronically stored

information on a storage medium that is necessary to draw an accurate

conclusion is a dynamic process. Electronic evidence is not always data that

can be merely reviewed by a review team and passed along to investigators.

Whether data stored on a computer is evidence may depend on other

information stored on the computer and the application of knowledge about

how a computer behaves. Therefore, contextual information necessary to

understand other evidence also falls within the scope of the warrant.

              e.   Further, in finding evidence of how a device was used, the

purpose of its use, who used it, and when, sometimes it is necessary to

establish that a particular thing is not present on a storage medium.

              f.   I know that when an individual uses an electronic device to

access child sexual abuse material, the individual's electronic device will

generally serve both as an instrumentality for committing the crime, and also

as a storage medium for evidence of the crime. The electronic device is an

                                        22


SENSITIVE                                                            DOJ 0000038
instrumentality of the crime because it is used as a means of committing the

criminal offense. The electronic device is also likely to be a storage medium for

evidence of crime. From my training and experience, I believe that an

electronic device used to commit a crime of this type may contain: data that is

evidence of how the electronic device was used; data that was sent or received;

and other records that indicate the nature of the offense.

      40.   Nature of examination. Based on the foregoing, and consistent with

Rule 41{e)(2)(B), the warrant I am applying for would permit the examination of

the device consistent with the warrant. The examination may require

authorities to employ techniques, including but not limited to computer-

assisted scans of the entire medium, that might expose many parts of the

device to human inspection in order to determine whether it is evidence

described by the warrant.

      41.   Manner of execution. Because this warrant seeks only permission

to examine devices already in law enforcement's possession, the execution of

this warrant does not involve the physical intrusion onto a premises.

Consequently, I submit there is reasonable cause for the Court to authorize

execution of the warrant at any time in the day or night.

                                 CONCLUSION

      42.   I submit that this affidavit supports probable cause for a search

warrant authorizing the examination of the Subject Device described in

Attachment A to seek the items described in Attachment B.




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SENSITIVE                                                            DOJ 0000039
                            REQUEST FOR SEALING

      43.   It is respectfully requested that this Court issue an order sealing,

until further order of this Court, all papers submitted in support of this

application, including the application, affidavit, and search warrant, and the

requisite inventory notice. Sealing is necessary because the items and

information to be seized are relevant to an ongoing investigation, and

premature disclosure of the contents of this Affidavit and related documents

may jeopardize the effectiveness of the investigation.



                                                   Respectfully submitted,

                                                 /s/ Jaclyn Duchene
                                             Jaclyn Duchene
                                             Special Agent
                                             Department of Homeland Security
                                             Homeland Security Investigations



Special Agent Duchene attested to this Application
by Telephone Pursuant to F.R.C.P. 4.l(b)(2)(A)
on August 7, 2024


   /s/ James B. Clark III
HON. JAMES B. CLARK III
UNITED STATES MAGISTRATE JUDGE




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SENSITIVE                                                            DOJ 0000040
                              ATTACHMENT A

                       PROPERTY TO BE SEARCHED

     The SUBJECT DEVICE is the forensic image of a silver Apple iPhone

cellular phone assigned the phone number 845-641-0543, which was detained

from Jacob Israel Walden on or about April 21, 2024 at John F. Kennedy

International Airport. The SUBJECT DEVICE is depicted below. Both the

phone and the forensic image are in the secure custody of U.S. Department of

Homeland Security, Homeland Security Investigations, in Newark, New Jersey.




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SENSITIVE                                                         DOJ _ 0000041
                                ATTACHMENT B

                         INFORMATION TO BE SEIZED

      The SUBJECT DEVICE shall be searched for evidence, fruits, and

instrumentalities relating to violations of Title 18, United States Code, Sections

2251 (sexual exploitation of children), 2252 (activities relating to material

involving the sexual exploitation of children), and 2252A (activities relating to

material constitution or containing child sexual abuse material) (the "Subject

Offenses"), committed by Jacob Israel Walden, Ryan Edward Hine, and others

known and unknown from June 2020 through the present day, including but

not limited to:

      1.     Any and all images or visual depictions relevant to the Subject
             Offenses.

      2.     Any and all evidence of applications, social media accounts, or
             website accounts that could be used to facilitate the Subject
             Offenses, including any and all usemames or passwords.

      3.     Any and all records in any format or medium (including, but not
             limited to: notes, e-mail messages, chat logs and electronic
             messages, social media accounts, peer-to-peer file sharing
             applications, online accounts or applications, or other digital data
             files and web cache information):

             a. identifying persons transmitting, through interstate or foreign
                commerce by any means, including, but not limited to the United
                States Mail, common carrier, computer, or some other facility or
                means of interstate or foreign commerce, any child sexual abuse
                material or any visual depictions of minors engaged in sexually
                explicit conduct;

             b. concerning the production, receipt, transmission, shipment,
                distribution, possession, production, order, purchase, request,
                trading, or sharing of child sexual abuse material or visual
                depictions of minors engaged in sexually explicit conduct;


                                        26


SENSITIVE                                                              DOJ_0000042
        c. concerning communications between individuals about child
           sexual abuse material or the existence of sites on the Internet
           that contain child sexual abuse material or that cater to those
           with an interest in child sexual abuse material;

        d. concerning membership in online groups, clubs, or services that
           provide or make accessible child sexual abuse material to
           members;

            e. concerning to the preparation, purchase, and/ or acquisition of
               names, mailing lists, supplier lists, mailing address labels, or
               lists of names to be used in connection with the purchase, sale,
               trade, or transmission, through interstate or foreign commerce
               by any means, including, but not limited to the United States
               Mail, common carrier, computer, or some other facility or means
               of interstate or foreign commerce, any child sexual abuse
               material or any visual depiction of minors engaged in sexually
               explicit conduct, including registries regarding peer-to-peer file-
               sharing software communications and participants in peer-to-
               peer file-sharing software networks;

            f. concerning any accounts with an Internet Service Provider and
               any internet protocol addresses utilized by the device;

            g. concerning online storage or other remote computer storage,
               including, but not limited to, software used to access such online
               storage or remote computer storage, user logs or archived data
               that show connection to such online storage or remote computer
               storage, and user logins and passwords for such online storage
               or remote computer storage;

            h. concerning communications concerning the commission of the
               Subject Offenses;

            i.   concerning who used, owned, or controlled the SUBJECT
                 DEVICE the ownership of the SUBJECT DEVICE, such as logs,
                 registry entries, configuration files, saved usernames and
                 passwords, documents, browsing history, user profiles, email,
                 email contacts, "chat," instant messaging logs, photographs, and
                 correspondence;

        j. concerning the times when the device was used;




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SENSITIVE                                                             DOJ _ 0000043
             k. concerning software that would allow others to control the
                device, such as viruses, Trojan horses, and other forms of
                malicious software, as well as evidence of the presence or
                absence of security software designed to detect malicious
                software;

             1. concerning the lack of such malicious software;

             m. concerning the attachment to the device of other storage devices
                or similar containers for electronic evidence;

             n. concerning counter-forensic programs (and associated data)
                that are designed to eliminate data from the device;

             o. concerning passwords, encryption keys, and other access
                devices that may be necessary to access the device;

             p. concerning the device's Internet activity, including firewall logs,
                caches, browser history and cookies, "bookmarked" or "favorite"
                web pages, search terms that the user entered into any Internet
                search engine, and records of user-typed web addresses;

      4.     Documentation and manuals that may be necessary to access the
             device or to conduct a forensic examination of the device.
      5.     Any and all credit card and other financial information, including,
             but not limited, to bills and payment records, reflecting evidence of
             the purchase or sale of child sexual abuse material or payment for
             sex or sexual acts.

      6.     Contextual information necessary to understand the evidence
             described in this attachment.
      For purposes of authentication at trial, the Government is authorized to

retain a digital copy of all seized information authorized by the Warrant for as

long as is necessary for authentication purposes.




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 SENSITIVE                                                             DOJ _ 0000044
            Exhibit 1




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